                                       UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF ARIZONA

                                                        Minute Entry
Hearing Information:
                       Debtor:    ELAINE NICOLE LEWIS
                 Case Number:     2:18-BK-05419-DPC            Chapter: 7

          Date / Time / Room:     MONDAY, JULY 30, 2018 10:00 AM 6TH FLOOR #603

         Bankruptcy Judge:        DANIEL P. COLLINS
              Courtroom Clerk:    RHONDA VAUGHAN
                Reporter / ECR:   RENEE BRYANT                                                              0.00


Matter:
              MOTION FOR RELIEF FROM AUTOMATIC STAY (REAL PROPERTY) AND ABANDONMENT OF ESTATE
              PROPERTY RE: 11744 W. VILLA HERMOSA LANE, SUN CITY, AZ 85373 FILED BY JOSEPH JOHN TIRELLO JR.
              OF ZIEVE, BRODNAX & STEELE, LLP ON BEHALF OF FREEDOM MORTGAGE CORPORATION .
              R / M #: 22 / 0



Appearances:

        DAVID A. BIRDSELL, TRUSTEE , DAVID A. BIRDSELL
        HAROLD CAMPBELL, ATTORNEY FOR ELAINE NICOLE LEWIS
Proceedings:                                                                                         1.00


        Mr. Birdsell advises he filed an Objection to the Motion for Stay Relief and
        Abandonment. He explains he is working with BKGLOBAL in order to sell the
        propeorty with a carve out to the estate. Mr. Birdsell advises he has not talked
        with Mr. Tirello, although he did speak to Mr. Campbell who advised no
        foreclosure action has been started.

        Mr. Campbell advises he has not talked to Mr. Tirello. In this particular case he
        has no objection to a carve out to the Trustee and is not looking to orally
        request an abandonment.

        COURT: IT IS ORDERED DENYING THE MOTION FOR RELIEF FROM
        AUTOMATIC AND ABANDONMENT WITHOUT PREJUDICE.




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